                             UNITED STATES BANKRUPTCY COURT
                              EASTERN DISTRICT OF MICHIGAN
                               SOUTHERN DIVISION - DETROIT

  IN THE MATTER OF:                                     CHAPTER 13
  Michael D Frost & Aundrea Lynn Frost                  CASE NO. 16-56354-PJS
                                                        JUDGE PHILLIP J SHEFFERLY
  Debtors
                                          /

  TRUSTEE'S MOTION TO DISMISS FOR FAILURE TO MAKE PAYMENTS AND FOR FAILURE
                     TO REMIT TAX REFUNDS TO THE TRUSTEE
      NOW COMES the Chapter 13 Trustee, Krispen S. Carroll, and moves this Honorable Court

for dismissal of the above-captioned matter pursuant to 11 U.S.C. §1307 (c) and in support

thereof states as follows:

     1. This motion is brought pursuant to 11 U.S.C. §1307 (c)(6).

     2. That the Debtors' failure to make payments is a material default in the terms of the

          confirmed Chapter 13 plan for which dismissal or converison of the case is appropriate.

     3. That under the terms of the Debtors' confirmed Chapter 13 Plan, as last amended, if

          any, the Debtors were obligated to remit 100% of tax refunds to which the Debtors

          becomes entitled to during the pendency of the Chapter 13 Plan.

     4. That based upon information and belief, the Debtors have not remitted refunds to the

          Trustee as ordered by this Honorable Court.

     5. That the Debtors' failure to remit the tax refund is a material default in the terms of the

          confirmed Chapter 13 Plan for which dismissal or conversion is appropriate.




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     6. The Chapter 13 Trustee sought concurrence of debtors' counsel in the relief requested

         on May 01, 2019, but at the time of filing this motion, such concurrence had not been

         given.
      WHEREFORE, the Chapter 13 Trustee requests this Honorable Court dismiss the above

captioned matter due to a material default in the terms of the Confirmed Plan.

                                OFFICE OF THE CHAPTER 13 STANDING TRUSTEE-DETROIT
                                Krispen S. Carroll, Chapter 13 Standing Trustee


  May 16, 2019                  /s/ MARIA GOTSIS
                                KRISPEN S. CARROLL (P49817)
                                MARGARET CONTI SCHMIDT (P42945)
                                MARIA GOTSIS (P67107)
                                719 Griswold Street, Suite 1100
                                Detroit, MI 48226
                                (313) 962-5035
                                notice@det13ksc.com




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                              UNITED STATES BANKRUPTCY COURT
                               EASTERN DISTRICT OF MICHIGAN
                                SOUTHERN DIVISION - DETROIT
  IN THE MATTER OF:                                           CHAPTER 13
                                                              CASE NO. 16-56354-PJS
  Michael D Frost & Aundrea Lynn Frost
                                                              JUDGE PHILLIP J SHEFFERLY
  Debtors                                   /


                                     ORDER DISMISSING CASE
      This matter having come to be heard upon the Trustee's Motion to Dismiss for Failure to

Make Payments and for Failure to Remit Tax Refunds to the Trustee filed pursuant to 11 U.S.C.

§1307 (c)(6), notice having been duly give and an opportunity for hearing having been

provided, and based upon the records of the court herein, the Court finds that the relief

requested is warranted, and the Court being otherwise sufficiently advised in the premises;

      IT IS HEREBY ORDERED that the Chapter 13 Case of the Debtors herein be and the same

hereby is dismissed for the failure to make the payments and failure to remit tax refunds as

required under the Chapter 13 Plan, which constitutes a material default in the plan;

      IT IS FURTHER ORDERED that the Clerk of the Court shall immediately provide notice of

the entry of this order to all creditors listed in this case, the Debtors, Debtors' attorney, if any,

and the Trustee;
      IT IS FURTHER ORDERED that Krispen S. Carroll, Trustee, is discharged as Trustee and the

Trustee and her surety is released from any and all liability on account of the within proceeding;



                                                 U.S. BANKRUPTCY JUDGE
                                            EXHIBIT "A"
    CH
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Official Form 420A (Notice of Motion or Objection) (12/16)


                                                   UNITED STATES BANKRUPTCY COURT
                                                    EASTERN DISTRICT OF MICHIGAN
                                                     SOUTHERN DIVISION - DETROIT
In re                                                                                 CHAPTER 13
Michael D Frost & Aundrea Lynn Frost                                                  CASE NO. 16-56354-PJS
                                                                                      JUDGE PHILLIP J SHEFFERLY




                                    Debtors
Address
4275 DOVER STREET
JACKSON, MI 49201



Last four digits of Social Security or Individual Tax-payer Identification
(ITIN) No(s).,(if any): 3256 and 0879

Employer's Tax Identification (EIN) No(s).(if any):

                                               NOTICE OF TRUSTEE'S MOTION TO DISMISS

       The Chapter 13 Trustee has filed papers with the court to dismiss the above-captioned case.
       Your rights may be affected. You should read these papers carefully and discuss them with your
attorney, if you have one in this bankruptcy case. (If you do not have an attorney, you may wish to
consult with one.)
       If you do not want the court to dismiss the above-captioned case or if you want the court to consider your
views on the Trustee's motion, within 14 days, you or your attorney must:
          1.         File with the court a written response or an answer, explaining your position at (1):

                                                         United States Bankruptcy Court
                                                         211 W. Fort Street, Suite 2100
                                                               Detroit, MI 48226

       If you mail your response to the court for filing, you must mail it early enough so the court will receive it on
or before the date stated above. All attorneys are required to file pleadings electronically.
                     You must also send a copy to:

                                           OFFICE OF THE CHAPTER 13 TRUSTEE - DETROIT
                                                    ATTN: MOTION DEPARTMENT
                                                  719 Griswold Street, Suite 1100
                                                        Detroit, MI 48226


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      2.       If a response or answer is timely filed and served, the clerk will schedule a hearing on the Motion
and you will be served with a notice of the date, time and location of the hearing.
        If you or your attorney do not take these steps, the court may decide that you do not oppose the
relief sought in the motion and may enter an order granting that relief.

                                                      OFFICE OF THE CHAPTER 13 STANDING TRUSTEE-DETROIT
                                                      Krispen S. Carroll, Chapter 13 Standing Trustee

May 16, 2019                                          /s/ MARIA GOTSIS
                                                      KRISPEN S. CARROLL (P49817)
                                                      MARGARET CONTI SCHMIDT (P42945)
                                                      MARIA GOTSIS (P67107)
                                                      719 Griswold Street, Suite 1100
                                                      Detroit, MI 48226
                                                      (313) 962-5035
                                                      notice@det13ksc.com

    1 Response or answer must comply with F.R.Civ.P.8(b), (c) and (e)




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  Michael D Frost & Aundrea Lynn Frost       CASE NO. 16-56354-PJS
                                             JUDGE PHILLIP J SHEFFERLY
  Debtors
                                             /


                                     CERTIFICATE OF MAILING
       I hereby certify that on the date indicated below, I electronically filed TRUSTEE'S

MOTION TO DISMISS, NOTICE OF TRUSTEE'S MOTION TO DISMISS and CERTIFICATE OF

MAILING with the Clerk of the Court using the ECF system which will send notification of such

filing to the following:
  BABUT LAW OFFICES PLLC
  700 TOWNER STE 1
  YPSILANTI, MI 48198-5757



and I hereby certify that I have mailed by United States Postal Service the above mentioned

documents to the following non-ECF participants:


  Michael D Frost
  Aundrea Lynn Frost
  4275 Dover Street
  Jackson, MI 49201




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May 16, 2019                            /s/ Christina Haley
                                        CHRISTINA HALEY
                                        For the Office of the Chapter 13 Trustee-Detroit
                                        719 Griswold Street, Suite 1100
                                        Detroit, MI 48226
                                        (313) 962-5035
                                        notice@det13ksc.com




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